                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                     _____________________________

                          Case No. 6D2023-0906
                    Lower Tribunal No. CF20-009664-XX
                     _____________________________

                            SHANNON ROBINSON,

                                 Appellant,

                                      v.

                             STATE OF FLORIDA,

                                Appellee.
                     _____________________________

                Appeal from the Circuit Court for Polk County.
                          Sharon M. Franklin, Judge.

                               August 27, 2024


PER CURIAM.

     AFFIRMED.

STARGEL, WOZNIAK and SMITH, JJ., concur.


Shannon Robinson, Copperas Cove, Texas, pro se.

Ashley Moody, Attorney General, Tallahassee, and Helene S. Parnes, Senior
Assistant Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
             AND DISPOSITION THEREOF IF FILED
